Name: Tonisha T. Robi nsor

 

 

 

 

 

 

 

 

 

 

 

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DEFENDANT(S).

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UNITED STATES DISTRICT COURT |
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(To be supplied by the Clerk)

COMPLAINT FOR:
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I. JURISDICTION

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HSe 2:12-cv-09469-DSF-DFM Document3 Filed 11/16/12 Page 12o0f16 Pag@ ID #:29

 

 

 

DEMAND FOR JURY TRIAL

 

Plaintiff hereby requests a jury trial on all issues raised in this complaint.

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Dated: [4 | 202
Sign:  M@A

Print Name: ‘owztsve vYloazwse

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Page Number

 

 

 
Case 2:12-cv-09469-DSF-DFM Document3 Filed 11/16/12 Page 13 o0f16 Page ID #:30

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge Dale S. Fischer and the assigned discovery
Magistrate Judge is Frederick F. Mumm.

The case number on all documents filed with the Court should read as follows:

CV12- 9469 DSF (FFMx)

Pursuant to General Order 05-07 of the United States District Court for the Central
District of California, the Magistrate Judge has been designated to hear discovery related
motions.

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOTICE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
filed, a copy of this notice must be served on all plaintiffs).

Subsequent documents must be filed at the following location:

Western Division LJ Southern Division Eastern Division
312 N. Spring St., Rm. G-8 411 West Fourth St., Rm. 1-053 3470 Twelfth St., Rm. 134
Los Angeles, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Failure to file at the proper location will result in your documents being returned to you.

 

CV-18 (03/06) NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY
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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

TFowds tO (LomtaSar CASE NUMBER

CV12-9469 dsc (md

PLAINTIFF(S) |
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oe ieeees for ce PEVATIMEN T

HSLLA IPD pravente ran COPETAL | SUMMONS |
“0. Ce DEFENDANT(S)-

 

 

 

TO: DEFENDANT(s): HOLIYwoo P POLECE DeranTmeENT , CHILD PROTECTIVE HMI
UT CSRMUBCES, LOS Atv GELES (OLTE PEMARICTINCHT,, UBD PRUSTOV Fira  lon-TN4-c,

 

 

A lawsuit has been filed against you.

Within ZA days after service of this summons on you (not counting the day you received it), you

 

 

oust serve on the plaintiff an answer to the attached ch complaint O amended complaimt

(1 counterclaim O cross-claim or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer

or motion must be served on the plamtiffs attomey, , whose address is
. Hyou fail to do so,

judgment by default will be entered against you for the relief demanded in the complaint. You also must file
your answer or motion with the court.

Dated: Nov 16 2012

 

 

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[Use 60 days if the defendant i is the United States or a United States agency, or is an officer or employee of the United States. Allowed
60 days by Rude 12(a})(3)]. /

“FOR OFFICE USE ONLY

CV-O1A (12/07) SUMMONS

 
Case 2:12-cv BU7EB. TEESE PIFRISS GQHEE: GENERAL WIEFIMPEO® PALEORNEE 16 Page ID #:32

I (2) PLAINTIFFS (Check box if-you are representing youself ph perenpants CHILD PUOTEC TIVE ORKUT CES

eo i cm. DEMRT MENT
TOWISKE —— Rowr sew os aw 62 o oSte SEPA RTM UT

OLY WOOD FRR Stee HOSPITAL

(®) Attomeys (Firm Name, Address and Telephone Number. If you are representing | Attorneys (If Known) |
yourself provide same} row ott) ROGT NSO ov EAL]
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Moe _TH HOLLYWOOD, CH, WOH Y24) 230-966 G

 

 

 

 

 

 

IL BASIS OF JURISDICTION (Place an X im one box only.) TL CITIZENSHIP OF PRINCIPAL PARTIES - For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant.)

O1 US. Government Phintif Federal Question (U.S. ; PIF DEF : PYF DEF

Government Not a Party) Citizen of This State M1 O01 Incorporated or Principal Place O04 O14
of Business in this State

(32US. Government Defendant 14 Diversity (Indicate Citizenship | Citizen of Another State 02 02  Tncorporated and Principal Place OS O15

of Parties in Item I) of Business in Another State
. Citizen or Subject ofa Foreign Comty 013 03 Foreign Nation M6 06

 

 

IV. ARIGIN (Place an X im one box only.)
1 Original (12 Removed from 013 Remanded fiom [14° Reinstated or [15 Transferred from another district (specify): O16 Multi- 117 Appeal to District

 

Proceeding State Court Appellate Court Reopened District Judge from
; Litigation Magistrate Judge
V. REQUESTED INCOMPLAINT: JURY oo: Wes CINo (Check “Yes” only if demanded in complaint) SYODOOOD
CLASS ACTION under .L.CP.23: Yes No [I MONEY DEMANDED IN COMPLAINT: $ é

 

VL ary ° ACTIO 14 the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)

AD VS.C.

VI. NATURE OF SUIT (Place an X in one box only.)

 

 

 
 
 
  

      

   
 

     
  
  

 

 

 

    

     

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0 430 Banks and Banking Miller Act (1315 Aplane Product {11370 Other Frand Vacate Sentence ]0 720 LaborMemt.
0450 Commeree/ICC Negotiable Instrument Liability 0371 Truth m Lending Habeas Corpus Relations
Rates/etc. Recovery of 17320 Assault, Libel & {1380 Other Persopal 10530 Goneal 01730 LabodMemt.
460 Deportation Overpayment & Slander . Property Damage | 535 Death Penalty Reporting &
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FOR OFFICE USE ONLY: Case Number. :
AETER COMPLETING THE FRONT SIDE OF FORM CV-"® CO: ORMATION REQUESTED BELOW.

ZV-71 (05/08) CIVIL COVER SHEET Page lof?

 
"Case 2:12-cv-OOF EP S525 PISTRIRIOOOURT GENT, DIS TAICPORagerbamrk16 Page ID #:33

CIVIL COVER SHEET L
VUI (2). IDENTICAL CASES: Has this action been previously filed in this cout and dismissed, remanded or closed? WNo 1 Yes
If yes, list case numbex(s):

0
VHI(b) RELATED CASES: Have any cases been previously filed in this court that are related to the present case? Ke -O Yes
If-yes, list case number(s): . :

Civil cases are deemed related if a previously filed case and the present case:
(Check all boxes that apply) [1 A. Arise fiom the same or closely related transactions, happenings, or events: or
OB. Call for determination of the same or substantially related or similar questions of Jaw and fact or
OC. For other reasons would entail substantial duplication of labor if beard by different judges: or
(1D. Involve the same patent, trademark or copyright, and one of the factors identified above ina, b orc also is present.

IX. VENUE: (When completing the folowing information, use an additional sheet if. necessary.)

(a) List the County in this District California County outside of this District; State if other than California; or Foreign Country, in which EACH named plaintiff resides.
C1 __ Cheek here if the government, ifs agencies or conployees is a named plaintiff. If this box is checked, go to item (b). ‘
Califomia County outside of this District; State, if other than California; or Foreign Country

 

County in this District*

LOS AMERES

 

 

 

 

 

(b) List the County in this District; California County outside of this District, State if other than California; or Foreign Country, in which EACH named defendant resides.
OC) Check here if the government, its ageocies or employees is a named defendant. If this box is checked, go to iter (c). .
California County outside of this District: State, if other than California; or Foreign Country

 

County in this District*

 

“Los AVoetts

 

 

 

(c) List the County in this District; California County outside of this District, State if other than Califomia; or Foreign Country, in which EACH claim arose.
Note: In Jand condernnation cases, use the Jocation of the tract of and involved.
California County outside of this District; State, if other than California; or Foreign Country

 

County in this District*

 

Los ANGELES

 

 

 

* Los Angeles, Orange, San Bernardino, Riverside, Ventura, Santa Barbara, or San Luis Obispo Counties
Note: Tn Jand condemnation cases, use the Jocation of the tract of land involved

X. SIGNATURE OF ATTORNEY (OR PRO PER): Zz £ wa Dae tf [Sf2eiz

Notice to Counsel/Parties: The CV-71 (JS-44) Civil Cover Sheet and the information contained herein peither replace nor supplement the filing and service of pleadings
or other papers as required by law. This form, approved by the Judicial Conference of the United States in September 1974, is required pursuant to Local Rule 3-] is not filed
but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed instructions, see separate instructions sheet.)

Key to Statistical codes relating to Social Security Cases: .
Nature of Suit Code Abbreviation Substantive Statement of Causé of Action

861 HIA All clanns for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended.
Also, inclnde claims by hospitals, skilled nursing facilities, ete., for certification as providers of services under the
program. (42 ULS.C. 1935FF(b))

All claims for “Black Lung” benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969.

862 BL
G0 U.S.C. 923)

863 DIWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as
amended, plus al] claims filed for child’s insurance benefits based on disability. (42 U.S.C. 405(g))

863 DIWW All clairas filed for widows or widowers msurance benefits based on disability onder Title 2 of the Social Security
Act, as amended. (42 U.S.C. 405(g))

864 SSID All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security

: Act, as amended. ,

865 RSI All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended. (42 ©

US.C. (g))

 

J-71 (05/08) CIVIL COVER SHEET Page 2 of 2

 
